     Case 4:05-cr-00059-JRH-CLR Document 1436 Filed 07/20/12 Page 1 of 1




UNITED STATES DISTRICT COURT                     the motion to reconsider. See Docs. 1413 at
SOUTHERN DISTRICT OF GEORGIA                     2; 1427.
     SAVANNAH DIVISION
                                                                CONCLUSION
UNITED STATES OF AMERICA                            The Substitute Receiver’s request for
                                                 this Court to address the motion for
                                                 reconsideration is GRANTED. See Doc.
v.                     4:05-cr-59
                                                 1433. The Court has already granted the
                                                 Substitute Receiver’s motion to reconsider
MARTIN J. BRADLEY III, et al.                    the dismissal of the 23rd motion for
                                                 compensation. See Doc. 1410. The Court
                                                 now GRANTS the same with regards to the
                  ORDER                          24th motion. See Doc. 1396.
   Before the Court is the Substitute
Receiver’s motion to reconsider. See Doc.
1396.                                            This 20th day of July 2012.

   On March 20, 2012, the Substitute
Receiver filed his 23rd motion for
compensation. See Doc. 1371. On April 25,         R AVANT EDFNFIELO, JUDGE
                                                  UNITED STATES DISTRICT COURT
2012, the Substitute Receiver filed his 24th      SOUTHERN DISTRICT OF GEORGIA
motion for compensation. See Doc. 1385.
On May 14, 2012, this Court dismissed both
motions in light of the Bradleys’ appeal.
See Doc. 1393. The Substitute Receiver
moved the Court to reconsider on May 18,
2012. See Doc. 1396.
   This Court subsequently approved the
Substitute Receiver’s 23rd motion for
compensation. See Doc. 1410. Thus, the
Court has already granted the Substitute
Receiver’s motion to reconsider the
dismissal of its 23rd motion for
compensation.
    The Court has not yet taken action on the
motion for reconsideration with regards to
the 24th motion for compensation. Upon
considering the Substitute Receiver’s motion
and the parties’ agreement settling the issues
remaining in this case, the Court GRANTS
